     Case 1:21-cr-00035-RC Document 451 Filed 03/14/24 Page 1 of 29




                         UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLUMBIA


                                                      )
UNITED STATES OF AMERICA                              )      Case No. 1:21-cr-35 RC
                                                      )
                    v.                                )
                                                      )
JEFFREY SABOL,                                        )
                                                      )
                         Defendant                    )
                                                      )

        DEFENDANT JEFFEREY SABOL’S MEMORANDUM IN AID OF

                                      SENTENCING

   Defendant Jeffrey Sabol, by and through undersigned counsel, respectfully submits

this memorandum and exhibits for his sentencing on March 21, 2024. Based on all

factors this Court may consider, defendant asks Your Honor to impose a sentence of 42

months in prison and 3 years of supervised release.

               I.        Current Posture of Jeffrey Patrick Sabol

   Mr. Sabol was arrested in the Southern District of New York on January 22, 2021,

and has been continuously detained since.

   On August 18, 2023, Mr. Sabol appeared in the U.S. District Court for the District of

Columbia located in Washington, DC, and was found guilty following a stipulated bench

trial of three counts in a Twenty-Four Count Third Superseding Criminal Indictment He

was convicted of the following: Count 1: Obstruction of an Official Proceeding and

Aiding and Abetting, in violation of 18 U.S.C. §1512(c)(2) & 2; Count 8: Robbery within

the Special Maritime and Territorial Jurisdiction of the United States, in violation of 18
     Case 1:21-cr-00035-RC Document 451 Filed 03/14/24 Page 2 of 29




USC § 2111; and Count 10: Assaulting, Resisting, or Impeding Certain Officers Using a

Dangerous Weapon, in violation of 18 U.S.C. § 111(a)(1) & (b).

    He has not been engaged in any conduct that would jeopardize his acceptance of

responsibility in this case.

                       II.     Presentence Investigation Report (PSR)

    Defendant’s initial PSR was filed on March 7, 2024. (ECF No. 443). Defendant

disagrees with probations adjustment for use of a dangerous weapon on Count 10 and

submits defendant’s guideline calculation should be as follows:

                                    Group 1 (Count 1)

        Base Offense Level: 14, pursuant to USSG §2J1.2(a).                           14

Specific Offense Characteristic: None.                                                0

Victim-Related Adjustments: None.                                                     0

Adjustment for Role in the Offense: None.                                             0

Adjustment for Obstruction of Justice: Mr. Sabol attempted to obstruct justice by

deleting text messages and other communications regarding January 6, 2021, requesting

another individual to delete a video sent to him by Mr. Sabol, microwaving laptops and a

hard drive, dropping his cellphone into a body of water, and attempting to flee the United

States. The offense level is increased by 2 levels, pursuant to USSG §3C1.1.         +2

Adjusted Offense Level:                                                              16



                                    Group 2 (Count 8)

Base Offense Level: 20, pursuant to USSG §2B3.1(a).                                  20




                                            2
     Case 1:21-cr-00035-RC Document 451 Filed 03/14/24 Page 3 of 29




Specific Offense Characteristic: During this instant offense, Officer A.W. sustained a

serious bodily injury. The offense level is increased by 4 levels, pursuant to USSG

§2B3.1(b)(3)(A).                                                                      +4

Victim-Related Adjustments: Mr. Sabol’s offense conduct caused a Metropolitan Police

officer (A.W.) to sustain serious bodily injury, and Mr. Sabol was fully aware A.W. was

a law enforcement officer. The offense level is increased by 6 levels, pursuant to USSG

§3A1.2(c).                                                                               +6

Adjustment for Role in the Offense: None.                                                  0

Adjustment for Obstruction of Justice: Mr. Sabol attempted to obstruct justice by deleting

text messages and other communications regarding January 6, 2021, requesting another

individual to delete a video sent to him by Mr. Sabol, microwaving laptops and a hard

drive, dropping his cellphone into a body of water, and attempting to flee the United

States. Pursuant to USSG §3C1.1, a 2-level upward adjustment is warranted.               +2

Adjusted Offense Level:                                                                    32



                                   Group 3 (Count 10)

       The applicable guideline for Count 10 is found in USSG §2A2.4 – Obstructing or

Impeding Officers. However, if the conduct constituted aggravated assault, apply USSG

§2A2.2 – Aggravated Assault, pursuant to the Cross Reference in USSG §2A2.4(c)(1).

Base Offense Level: 14, pursuant to USSG §2A2.2(a).                                      14

Specific Offense Characteristic: According to the Presentence Investigation Report, “A

dangerous weapon was otherwise used (to wit: defendant Sabol grabbed Officer A.W.'s

baton and ripped it out of Officer A.W.'s hands. Defendant Sabol then assisted


                                            3
     Case 1:21-cr-00035-RC Document 451 Filed 03/14/24 Page 4 of 29




codefendant Whitton and codefendant Logan James Barnhart in dragging Officer B.M.

down the steps, holding Officer A.W.'s baton against Officer B.M.'s back. Once Officer

B.M. had been dragged fully into the crowd, other rioters, including codefendants Peter

Stager and Mason Courson, beat Officer B.M. with weapons, including a flagpole and a

baton).” Therefore, the Probation Officer determined that a 4-level upward adjustment

pursuant to USSG §2A2.2(b)(2)(B) was warranted.

Mr. Sabol disagrees with the Probation Officer’s assessment of this Specific Offense

Characteristic for the following reasons:

For a specific offense characteristic adjustment to be applied pursuant to USSG

§2A2.2(b)(2), a dangerous weapon must have been brandished or its use was

threatened for a 3-level increase (USSG §2A2.2(b)(2)(C)) or otherwise used for a 4-

level increase (USSG §2A2.2(b)(2)(B)). Pursuant to USSG §1B1.1, Application Note

# 1(J), “Otherwise used: with reference to a dangerous weapon (including a firearm)

means that the conduct did not amount to the discharge of a firearm but was more

than brandishing, displaying, or possessing a firearm or other dangerous weapon.”

In this case, there is no evidence that Mr. Sabol used the baton in any manner

greater than possessing it while he assisted others in dragging Officer B.M. down

the steps. His offense conduct does not justify the application of either a 4-level or a

3-level enhancement pursuant to USSG §2A2.2(b)(2)(B) or (C).

Secondly, Mr. Sabol maintains this enhancement cannot be applied to in his case

based on the conduct of Peter Stager and Mason Courson. In U.S. v. Jourdain, 443

F.3d 652 (8th Cir. 2006), the Court ruled “the enhancement in USSG §2A2.2(b)(2)(A)

for discharging a firearm or using a weapon may be based upon accomplice


                                            4
     Case 1:21-cr-00035-RC Document 451 Filed 03/14/24 Page 5 of 29




conduct, where the use of the weapon by a codefendant was foreseeable to the

defendant.” In this case, Mr. Sabol had never met Stager or Courson prior to that

moment at the U.S. Capitol and had no knowledge of their intentions or actions.

Thus, their behavior was not foreseeable by Mr. Sabol, and their conduct cannot be

used to justify the application of a 4-level enhancement pursuant to USSG

§2A2.2(b)(2).

Attached as Exhibit A is a clip from Officer C.M.’s Body Cam that has been slowed

down and been supplemented with a photo and words to offer evidence of

defendant’s objection to this enhancement. Defendant’s objection to this

enhancement is in no way an excuse or an attempt to alleviate his conduct, but only

to ensure that his guideline range truly reflects his actions and conduct

                                                                                        +0

Specific Offense Characteristic: During this instant offense, Officer B.M. sustained

bodily injuries because of Mr. Sabol’s offense conduct. The offense level is increased by

3 levels, pursuant to USSG §2A2.2(b)(3)(A).                                            +3

Specific Offense Characteristic: Mr. Sabol was convicted of Count 10, an offense in

violation of 18 U.S.C. § 111(a)(1) & (b). If the defendant was convicted under 18 U.S.C.

§ 111(b), increase the offense level by 2, pursuant to USSG §2A2.2(b)(7).              +2

Victim-Related Adjustments: A Metropolitan Police officer (B.M.) was a victim in this

offense and the assault against him/her was motivated by this fact. USSG §3A1.2(b)

states that if subsection (a)(1) and (2) apply, and the applicable Chapter 2 guideline is

from Chapter 2, Part A (Offenses Against the Person), the offense level is increased by 6

levels.                                                                                 +6


                                              5
     Case 1:21-cr-00035-RC Document 451 Filed 03/14/24 Page 6 of 29




Adjustment for Role in the Offense: None.                                                    0

Adjustment for Obstruction of Justice: Mr. Sabol attempted to obstruct justice by deleting

text messages and other communications regarding January 6, 2021, requesting another

individual to delete a video sent to him by Mr. Sabol, microwaving laptops and a hard

drive, dropping his cellphone into a body of water, and attempting to flee the United

States. Pursuant to USSG §3C1.1, a 2-level upward adjustment is warranted.              +2

Adjusted Offense Level:                                                                  27

MULTIPLE COUNT ADJUSTMENT

Group                  Adjusted Offense Level            Units

Group 1                       16                            0

Group 2                       32                            1

Group 3                       27                            ½

Total Number of Units: 1½

Greater of the Adjusted Offense Levels Above: 32

Increase in the Offense Level (USSG §3D1.4): +1

Combined Adjusted Offense Level: 33                                                      33

Chapter 4 Adjustments: None.                                                             0

Acceptance of Responsibility: The Government and the Probation Officer have both

acknowledged Mr. Sabol has demonstrated acceptance of responsibility for his conduct in

a timely manner. Accordingly, the offense level should be reduced by 3-levels, pursuant

to USSG §3E1.1(a) & (b).                                                                -3

Total Offense Level:                                                                     30

        III.   Applying the Factors of 18 U.S.C. § 3553(a) to Jeffrey Patrick Sabol


                                            6
     Case 1:21-cr-00035-RC Document 451 Filed 03/14/24 Page 7 of 29




        Sentencing Factors

        The fundamental rule governing consideration for the Court in sentencing is known

as the “parsimony principle” and is the directive of Congress that the Court “shall impose

a sentence sufficient, but not greater than necessary, to comply with the four identified

purposes of sentencing: just punishment, deterrence, protection of the public, and

rehabilitation.”

        Criminal sanctions in the United States have four goals: retribution, deterrence,

incapacitation, and rehabilitation. Retribution has been achieved through Mr. Sabol’s

felony conviction and his timely fulfillment of restitution in this case. As such, the

Court’s primary concerns at this juncture are deterrence, incapacitation, and

rehabilitation.

             A. The Nature and Circumstances of the Offense- 3553(a)(1)

        January 6, 2021 was one of, if not the worst day of Jeff Sabol’s life. His actions

that day have led to the loss of life’s simplest pleasures, and will forever affect his life

going forward, his family’s life, and the Officers that were hurt and affected that day.

        Defendant never intended to go to the Washington D.C. on January 6, 2021 to

break the law and engage in the conduct he committed. This was not the first political

rally he attended during the 2020 election cycle. Defendant attended a political rally,

here in Washington D.C. in December 2020, and was not involved in any violence or

destruction. His actions throughout the day of January 6, 2021 were a complete

aberration of the life he has lived. Defendant was not a member, or involved with, any

political group like the Proud Boys or Oath Keepers. Although he was Indicted along




                                               7
     Case 1:21-cr-00035-RC Document 451 Filed 03/14/24 Page 8 of 29




with eight other co-defendants, his actions that day were not in conjunction or pre

planned with any of them.

       The evidence also shows that immediately after his actions involving Officer

B.M., at the Lower Western Terrace, Jeff left the U.S. Capitol. He was not forcibly

removed or detained.

       There are least three factors in mitigation of the nature and circumstances of the

offense that may be pertinent to the provisions of USSG §1B1.4 - Information to Be Used

in Imposing Sentence (Selecting a Point within the Guideline Range or Departing from

the Guidelines). Although these considerations do not challenge the propriety of the

finding of guilt by the Court, they are relevant to the nature and circumstances of the

offense.

   1. Based on a total offense level of 30 and a Criminal History Category of I, the

       advisory sentencing guidelines range in Mr. Sabol’s case is 97-121 months

       imprisonment. We believe a sentence within the advisory guidelines range would

       be too harsh and greater than necessary. The Honorable Anthony Kennedy,

       former associate justice of the Supreme Court testified before the Senate Judiciary

       Committee on February 14, 2007, and stated, “Our sentences are too long, our

       sentences are too severe, our sentences are too harsh….[and because there are so

       few pardons] there is no compassion in the system. There’s no mercy in the

       system.” Mr. Sabol humbly asks the Court to have compassion in his case and

       impose a variance sentence that is below the calculated advisory guidelines range.

   2. Secondly, the guideline sentence is too long for the offense and does not promote

       respect, but derision, of the law. In U.S. v. Stern, 590 F. Supp. 2d 945, 957 (N.D.


                                             8
 Case 1:21-cr-00035-RC Document 451 Filed 03/14/24 Page 9 of 29




   Ohio 2008), the Court stated, “Respect for the law is promoted by punishments

   that are fair, however, not those that simply punish for punishment’s sake.” Thus,

   we believe a guideline sentence would be too harsh and not promote respect for

   the law based on the defendant’s culpability in this offense and a variance

   sentence below the advisory guidelines range is warranted.

3. Lastly, a term of imprisonment is more significant for a first offender so a below

   guidelines sentence is more just. In U.S. v. Paul, 561 F.3d 970 (9th Cir. 2009), the

   Court determined that a “within guideline sentence of 15 months was

   unreasonably high in part because Paul was a first-time offender with no criminal

   record whatsoever.” Like the defendant in Paul, this instant offense is Jeff’s first

   criminal conviction. Thus, a variance sentence below the advisory guidelines

   range is warranted in Mr. Sabol’s case.

      B. Jeffrey Patrick Sabol’s History and Characteristics- 3553(a)(1)




                           Jeffrey “Jeff” Patrick Sabol
                                         9
    Case 1:21-cr-00035-RC Document 451 Filed 03/14/24 Page 10 of 29




       The following information regarding Mr. Sabol’s history and characteristics is

offered as a supplement to the presentence investigation report conducted by the U.S.

Probation and Pretrial Services Office.

       Jeffrey “Jeff” Patrick Sabol was born on November 21, 1969, in Utica, New

York, from the legal union of Andrew and Vicki Sabol (nee: Burton). Mr. Sabol reported

he and his siblings were raised by both parents in Waterville, New York.




                         Jeff (center) with his parents and siblings

       According to Jeff, his parents continue to reside in his childhood home. His

father, Andrew Richard Sabol (age 84), is a retired high school teacher, and his mother,

Vicki Sabol (age 80), is a retired nursing home director. Jeff reported his father suffers

from hearing loss and his mother is impaired by chronic obstructive pulmonary disease

(COPD).




                                             10
Case 1:21-cr-00035-RC Document 451 Filed 03/14/24 Page 11 of 29
    Case 1:21-cr-00035-RC Document 451 Filed 03/14/24 Page 12 of 29




       Upon graduating from college in 1992, Mr. Sabol reported he relocated to the

Denver, Colorado area for an employment opportunity. In 1998, his employment required

him to relocate to Maui, Hawaii, where he lived for one year. Jeff stated he moved back

to Denver in 1999 and lived in the city until he moved to Indian Hills, Colorado (a

suburban town of Denver) in 2001. In 2011, Mr. Sabol left the country due to an

employment contract that required him to live and work in Afghanistan for one year.

Once his contract ended, Mr. Sabol relocated to Kittridge, Colorado (another suburban

town of Denver) in 2012 and was residing locally when he was arrested for this instance

offense.

       While living in Maui, Hawaii, Jeff was looking for a motor vehicle to purchase

and fell in love with a Jeep that he had seen that was for sale. The owner of the Jeep was

no longer living on the island but had a female friend to handle the sale of the Jeep to Mr.

Sabol. From their interaction, a romantic relationship developed between Jeff and the

seller’s female friend, Sharie Fitzgerald (age 59), and they were married in June 2000 in

Genesse, Colorado. According to Mr. Sabol, he and Sherrie separated in 2011, and their

divorce was granted due to irreconcilable differences and finalized in February 2014. Mr.

Sabol stated there were no other contributing factors to their divorce such as infidelity or

financial problems. He and his ex-wife simply grew apart from each other emotionally.

Jeff reported he no longer has any contact with his ex-wife, but he is aware she currently

resides in Lafayette, Colorado.

       From his marriage, Mr. Sabol has three children, Wyatt (age 22), Sophie (age 22),

and Sasha (age 18) Sabol. Wyatt and Sophie are fraternal twins. According to Jeff, he and

his ex-wife shared joint custody of their children. Even though he has been detained for


                                             12
     Case 1:21-cr-00035-RC Document 451 Filed 03/14/24 Page 13 of 29




over three years due to this instant offense, Mr. Sabol has continually satisfied his $500 a

month child support obligation for his youngest daughter from donated funds to a

GiveSendGo account set up on his behalf. Jeff reported that almost 100% of the money

donated to him has been used to support his children. Jeff’s ex-wife provided a notarized

statement attesting to the fact that Mr. Sabol has continued to fulfil his financial

obligation to his daughter since he has been incarcerated, and it is attached to this report.

(Exhibit B). This action by Jeff to continue to uphold his obligation to his family speaks

volumes about the human being he is and strong proof that his chance of recidivism is

non-existent.




       Prior to being arrested for this instant offense, Mr. Sabol reported his daughters

lived with him while his son lived with his mother. However, his son would frequently

come over to visit Jeff’s residence.




                                              13
     Case 1:21-cr-00035-RC Document 451 Filed 03/14/24 Page 14 of 29




       Mr. Sabol stated he is currently estranged from his children. In 2017, he got into a

heated argument with Wyatt about his poor grades in school. According to Jeff, he and

his son are very much alike, but he felt his son crossed a line by being disrespectful to

him. To mend their relationship, Mr. Sabol stated he went to therapy with Wyatt, but his

son refused to talk during the sessions. Jeff reported he has not spoken directly to Wyatt

since 2017. Reportedly, Wyatt currently resides in an unknown city/town in the state of

New Mexico. Due to Jeff being detained for this instant offense, Sophie and Sasha moved

in full-time with their mother in Lafayette, Colorado. According to Mr. Sabol, both of his

daughters are disappointed in him and resentful that he engaged in conduct that has

severely disrupted and hindered the lives of everyone in their family. Mr. Sabol stated his

children mean everything to him, and it hurts his soul to not have a closer relationship

with all of them at this time.




                                             14
    Case 1:21-cr-00035-RC Document 451 Filed 03/14/24 Page 15 of 29




       In July 2012, Jeff began dating Michelle Waufle. Ms. Waufle was the coworker of

Jeff’s mother, and she lived in a home next door to Jeff’s parents that was owned by

them. Although Ms. Waufle had known Jeff for several years, they had never previously

had an in-depth conversation. When she heard Jeff and his three children were coming to

Waterville, NY, to visit his parents, Ms. Waufle made cookies and went over to say hello.

Jeff had made plans to stay in Waterville for several weeks so that he and the kids could

spend time with his parents. According to Ms. Waufle, Jeff’s parents invited her several

times to accompany them when they took day trips or went sightseeing with Jeff and the

grandchildren.

       Both she and Jeff were going through divorces at the same time and realized they

were mutually interested in each other. Once it was time for Jeff to return to Colorado,

they decided to try having a long-distance relationship with one another.

       After approximately a year of being apart, Ms. Waufle moved to Colorado to live

with Jeff. However, she kept her home in New York and frequently returned to

Waterville for extended periods of time to be with her family. After the death of her

mother in 2014, Ms. Waufle relocated to Colorado fully.




                                            15
    Case 1:21-cr-00035-RC Document 451 Filed 03/14/24 Page 16 of 29




       Due to Jeff’s arrest for this instant offense, Ms. Waufle had to quit her job in

Colorado and move back into her home in Waterville, New York. Due to financial

concerns, Ms. Waufle stated she has to work three part-time jobs, seven days a week

while also trying to take care of Jeff’s elderly parents in his stead. According to Ms.

Waufle, she and Jeff are engaged to marry, but they have not yet set a wedding date due

to being uncertain as to how much longer he will be detained.




                                             16
    Case 1:21-cr-00035-RC Document 451 Filed 03/14/24 Page 17 of 29




Substance Abuse and Treatment

       According to Jeff, he began smoking marijuana when he was a senior in college

in 1991 or 1992. For several years, he would smoke marijuana almost daily until he

obtained a job as a geophysicist when he was approximately 30 years old. When he was

arrested for this instant offense, Mr. Sabol stated his marijuana usage was legal in the

state of Colorado, but he only smoked recreationally once or twice a month, particularly

after playing rugby with friends. In the mid-to-late 1990s, Jeff stated he experimented

with LSD, psilocybin mushrooms, GHB, and cocaine.

       Mr. Sabol reported he began consuming alcohol intermittently while in high

school. While in college, his alcohol consumption increased to frequent usage on the

weekends. According to Jeff, he has never had any issues with his consumption of

alcohol and would drink approximately two beers nightly.

       Jeff reported he has never received any substance abuse treatment or counseling,

and he has never been hospitalized due to abusing controlled substances or alcohol.

                                             17
     Case 1:21-cr-00035-RC Document 451 Filed 03/14/24 Page 18 of 29




Mental Heath

        In January 2021, Mr. Sabol was in a local store when he saw a television

broadcast with his picture and an FBI request to the public to help identify him. Due to

his fear of being arrested for this instant offense, Mr. Sabol panicked and inexplicably

attempted to commit suicide by cutting his wrists and thigh with a boxcutter. Immediately

after doing so, Jeff came to the realization that he had much to live for and did not want

to die. He then tried to prevent his blood loss and asked an individual passing by to call

911 for him. As a result of this suicide attempt, Mr. Sabol was hospitalized in a

psychiatric unit for approximately 10 days. Upon his release from the hospital, Jeff was

arrested for this instant offense. Prior to this incident, Mr. Sabol reported he had never

previously contemplated suicide, nor had suffered from any mental health issues.

Employment

        Mr. Sabol has been gainfully employed full-time in the field of geophysics for

several employers since 1993.

        Due to being detained for this instant offense, Jeff was terminated from his

position as a senior geophysical manager for Kemron Environmental Services. Mr. Sabol

had worked for this company since February 2014.

        Based on his excellent work history and expertise, Mr. Sabol has been invited to

apply for a position with Kascon Environmental Services located in Waterville, New

York. This company submitted a letter stating they are fully aware of Mr. Sabol’s current

legal status, and he is welcome to apply for a position once his legal matters are settled. A

copy of this letter is attached to this report. (Exhibit C)




                                               18
    Case 1:21-cr-00035-RC Document 451 Filed 03/14/24 Page 19 of 29




       It should be noted that Mr. Sabol was a volunteer with the Westernaires non-profit

organization located in Golden, Colorado, for several years prior to his arrest for this

instant offense. The Westernaires is a mounted precision drill organization composed of

Denver-area youngsters from the ages of 9 to 19 years old (www.westernaires.org).




                                             19
    Case 1:21-cr-00035-RC Document 451 Filed 03/14/24 Page 20 of 29




       According to Jeff, he oversaw the care of the program’s horses and their stable

each weekend. Due to the significant amount of time he spent volunteering each week,

Mr. Sabol stated he encouraged his children to volunteer also, and it became a family

thing to spend their weekends together taking care of the horses.

       Lastly, weeks prior to January 6, 2021, Jeff was on the verge of launching his own

invention; a state of the art, patent approved, snowboard binding called “Revolver Gear”.

(See revolvergear.com). Jeff plans on continuing to get the product launched when he is

released from custody. His desire to see his product launched and out in the market is

further evidence of Jeff having no risk of recidivism.

                                            20
     Case 1:21-cr-00035-RC Document 451 Filed 03/14/24 Page 21 of 29




Education

        Jeff reported he graduated in May 1992 from the State University of New York

College at Cortland located in Cortland, NY, with a B.S. degree in physics.

Community Support

        As indicated by the numerous letters of support written by his family and friends,

Mr. Sabol has strong community ties who are willing to assist in his transition back into

society.

        Upon his release from incarceration, Jeff plans to live with his fiancée in

Waterville, New York, seek employment with Kemron Environmental Services, and take

care of his elderly parents.

        Although he was raised Catholic by his parents, Mr. Sabol stated his family was

not very religious and only attended mass at Christmas. While living in Denver, Jeff was

exposed to Protestantism, gave his life to Christ, and became a “born-again” Christian.

Even though he stopped going to church in or about 2004, Mr. Sabol is looking to get

reconnected with another church in New York and expounding on his knowledge about

his faith.

Remorse

        Many January 6 defendants have celebrated, bragged, and shown great joy

following their actions on January 6, 2021.

        As stated above and mentioned in defendant’s PSR, Jeff attempted to take his own

life on January 11, 2021 by slitting his wrists and leg. Thankfully, Jeff realized that no

matter what he did that day, or what future harm he might have caused himself and his




                                              21
     Case 1:21-cr-00035-RC Document 451 Filed 03/14/24 Page 22 of 29



family, he still had a reason to live and a family that loved him and wanted him to be

alive. He was able to get himself to a local hospital and avoid dying by suicide.

       Jeff has attached 28-character letters from family and friends, both from when he

was initially arrested and as recently as the first week of March 2024. (Exhibit D). Jeff

has also included a written statement on his behalf with this memo (Exhibit E) along

with exhibits he asks the court to consider. (Exhibit F, G, and H)

C. The Need for the Sentence Imposed to reflect the Seriousness of the Offense, to



   Promote Respect for the Law, and to Provide Just Punishment for the Offense-

                                       3553(a)(2)(A)

       Due to the historical impact of the events that occurred on January 6, 2021, not

only a large portion of U.S. citizens, but the entire world is watching and monitoring

what happens to those arrested due to their involvement on that infamous day. Thus, the

Court has an even greater burden to fulfill its mission to impose a sentence that reflects

the seriousness of the offense, promote respect for the law, and provide a just punishment

for Mr. Sabol’s offense conduct.

       We believe the Court would still fulfill its mission by imposing a variance

sentence that is below the advisory guidelines range of 97-121 months. Jeff Sabol is not a

violent man and regrets being caught up in his emotions and engaging in conduct that is

not reflective of the law-abiding man and loving father that he has always strived to

project.

 D. The Need for the Sentence Imposed to Afford Adequate Deterrence to Criminal

                                   Conduct- 3553(a)(2)(B)


                                             22
     Case 1:21-cr-00035-RC Document 451 Filed 03/14/24 Page 23 of 29




          Today, news is broadcast almost instantaneously to everyone and everywhere.

The public in general and those individuals willing to engage in illegal criminal activity

have become aware of the risk of being incarcerated for a substantial amount of time if

they commit a crime like the ones committed by Jeff Sabol.

          Although it has been over three years since the riot at the U.S. Capitol occurred

on January 6, 2021, the news media and a significant portion of the United States’

population keep abreast of any arrests or sentences imposed upon individuals involved on

that ill-reputed day in U.S. history. Additionally, there are numerous websites, databases,

and news organizations that track the status of every defendant brought before the Court

due to their involvement on January 6.

          Most people, including Mr. Sabol, have now become aware of the risk and

likelihood of being incarcerated for a substantial amount of time if they commit a crime

like the one committed by Jeff. Thus, the sentence imposed upon Mr. Sabol will be more

than sufficient to serve as a general deterrence to others.

          At sentencing, Jeff will have been detained for three years and two months while

awaiting an outcome in this case. Mr. Sabol understands that his advisory sentencing

guidelines range recommends he continue to serve a term of imprisonment for several

more years. As a result, Jeff is determined to never put himself in this position again and

this conviction will serve as a specific deterrence to Mr. Sabol from committing further

crimes.

 E. The Need for the Sentence Imposed to Protect from Further Crimes by Jeffrey

                                     Sabol- 3553(a)(2)(C)




                                              23
    Case 1:21-cr-00035-RC Document 451 Filed 03/14/24 Page 24 of 29




       Except for this instant offense, Mr. Sabol has been a peaceful, law-abiding, non-

violent man for over 54 years, and his involvement in this instant offense is an aberration.

       According to the Presentence Investigation Report, Mr. Sabol has a criminal

history score of zero points, and his Criminal History Category is I. Due to this offense

involving violence, Jeff is prohibited from receiving a two-level downward adjustment to

his offense level pursuant to USSG §4C1.1 – Adjustment for Certain Zero-Point

Offenders.

       In the United States Sentencing Commission’s Report, “Recidivism and the First

Offender” (May 2004), “the analysis [of empirical data on re-offending] delineates

recidivism risk for offenders with minimal prior criminal history and shows that the risk

is lowest for offenders with the least experience in the criminal justice system. Offenders

with zero criminal history points have lower recidivism rates than offenders with one or

more criminal history points.

       Based on Mr. Sabol’s lack of prior criminal behavior and empirical data by the

Sentencing Commission, the likelihood of Jeff committing another similar offense or

being engaged in any criminal activity is highly unlikely and there is little need to impose

a lengthy sentence to protect society from further crimes by Mr. Sabol.

       Upon his release from imprisonment, Jeff is looking forward to going home to be

with his fiancée, his children, focusing on the care of his elderly parents, and being a

productive member of his community.

   F. To Provide Jeffrey Sabol with Needed Educational or Vocational Training,

   Medical Care, or Other Correctional Treatment in the Most Effective Manner-

                                       3553(a)(2)(D)


                                             24
    Case 1:21-cr-00035-RC Document 451 Filed 03/14/24 Page 25 of 29




       Mr. Sabol’s prior suicide attempt was an isolated incident, and he is not in need of

mental health treatment or counseling at this time. Also, Jeff is college educated and has

an extensive employment history working in the field of environmental services and

geophysics. Although Jeff admits to prior drug usage, he admits to only smoking

marijuana recreationally monthly when he was arrested for this offense.

       Thus, it appears Mr. Sabol is not in need of mental health counseling, educational

or vocational training while in the custody of the Bureau of Prisons. Even though Jeff

could benefit from participating in drug treatment, a lengthy term of imprisonment is not

necessary since treatment could be effectively rendered by a treatment provider in the

community while Mr. Sabol serves a term of supervised release.

       Therefore, we believe a lengthy term of imprisonment is not necessary to provide

Mr. Sabol with correctional treatment in the most effective manner.

 G. The Need to Avoid Unwarranted Sentence Disparities Among Defendants with

   Similar Records Who Have Been Found Guilty of Similar Conduct- 3553(a)(6)

       One of the most difficult and relevant factors this Court must consider is the need

to avoid unwarranted sentencing disparities.

       According to the United States Sentencing Commission’s statistics for Fiscal Year

2022, the national mean sentence length for assault offenses was 66 months

imprisonment and the median sentence length was 46 months imprisonment.




                                            25
Case 1:21-cr-00035-RC Document 451 Filed 03/14/24 Page 26 of 29
    Case 1:21-cr-00035-RC Document 451 Filed 03/14/24 Page 27 of 29




              Clayton Mullins                                    30 months

               Jack Whitton                         Sentencing to be held on 3/20/2024

              Logan Barnhart                                     36 months

              Ronald McAbee                                      70 months

              Mason Courson                                      57 months

                Justin Jersey                                    51 months



       Upon review of the offense conduct for each codefendant, we believe the offense

conduct of Clayton Mullins is comparable to Mr. Sabol’s. Both Mullins and Jeff engaged

in pushing other rioters against the blockade line of police officers, engaged in “tugs-of-

war” with police officers for the officers’ equipment, and assisted in pulling police

officers away from the blockade line into the crowd of rioters. However, neither Clayton

Mullins nor Jeff Sabol used dangerous weapons, other objects, or their fists to strike

officers, unlike codefendants Mason Courson, Jack Whitton, Peter Stager, Logan

Barnhart, Ronald McAbee, and Justin Jersey.

       We respectfully recommend the Court to consider imposing a sentence in Mr.

Sabol’s case that is less than the sentences of co-defendant Stager, Jersey, and Courson.

A sentence of 42 months would be a just sentence and allows the Court to avoid an

unwarranted sentencing disparity between defendants with similar records who have been

found guilty of similar conduct.

             H. The Need to Provide Restitution to the Victim- 3553(a)(7)

       For most of the defendants involved in the riot at the U.S. Capitol on January 6,

2021, it appears the Government has been recommending restitution in the amount of


                                             27
     Case 1:21-cr-00035-RC Document 451 Filed 03/14/24 Page 28 of 29




$2,000 for individuals convicted of a felony. In this case, most of Mr. Sabol’s

codefendants have also been required to pay $2,000 in restitution.

       Although Jeffrey will have the opportunity to pay restitution while incarcerated

through the Bureau of Prison’s Inmate Financial Responsibility Program, the amount he

earns while incarcerated pales in comparison to what he could earn once he returns to

society. Therefore, a lengthy term of imprisonment would hinder Mr. Sabol’s ability to

make restitution to the citizens of the United States.

                                        Conclusion

       In consideration of the forgoing discussion and analysis, we believe there is ample

evidence to allow the Court to impose a variance sentence of 42 months imprisonment

that is below the advisory sentencing guidelines range of 97 - 121 months imprisonment.

       We have attempted to fully address the factors in 18 U.S.C. § 3553(a) that the

Court must consider. Jeffrey Sabol respectfully requests that the Court utilizes this

information to satisfy its mission to impose a sentence that is sufficient, but not greater

than necessary under the circumstances of this case.




                                                         Respectfully Submitted,

                                                         s/Alex Cirocco

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                                             28
Case 1:21-cr-00035-RC Document 451 Filed 03/14/24 Page 29 of 29




                           EXHIBIT LIST

EXHIBIT NAME                    DESCRIPTION
Exhibit A                       Officer C.M. Bodycam
Exhibit B                       Child Support Letter
Exhibit C                       Employment Letter
Exhibit D                       Character Letters
Exhibit E                       Defendant’s Letter to the Court
Exhibit F                       Fingerprints of Fraud Document
Exhibit G                       Summary of Election Fraud Document
Exhibit H                       Compilation Video from Lower Western
                                Terrace (10:48 in length)
